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 4
   Attorney for Defendant
 5 GERARDO SILVA
 6
 7                    IN THE UNITED STATES DISTRICT COURT FOR THE
 8                              EASTERN DISTRICT OF CALIFORNIA
                                             -o0o-
 9
   UNITED STATES OF AMERICA, )                     CASE NO.: 05 - CR - 0413 DFL
10                           )
            Plaintiff,       )                     STIPULATION AND ORDER TO
11                           )                     CONTINUE SENTENCING
   v.                        )
12                           )                     Date:           October 5, 2006
   GERARDO SILVA & AIDA      )                     Time:          10:00 am
13 MAGANA                    )                     Room:          7
                             )
14          Defendant  (s),  )

15
            It is hereby stipulated by and between Plaintiff, Assistant United States Attorney, Matthew
16
     D. Segal and Defendants, Gerardo Silva, through his counsel, Ron Peters and, Aida Magana,
17
     through her counsel, Quin Denvir that the sentencing hearing presently set on October 5, 2006 at
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     10:00 am shall be continued to December 14 , 2006 at 10:00 am. Both sides stipulate that due to the
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     need to review and analyze the facts and law in this case, additional time is needed for preparation
20
     and continuity of counsel, and therefore statutory time should be excluded.
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            The parties request that this Court exclude speedy trial time from the date of the signing of
22
     this order up to and including December 14, 2006 to allow the parties to complete the above tasks.
23
            Speedy trial time should be excluded pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv), and Local
24
     Code T-4, for ongoing preparation of counsel.
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           U.S. vs. SILVA                                           STIPULATION AND ORDER TO
                                                                    CONTINUE SENTENCING
           Case 2:05-cr-00413-JAM Document 38 Filed 10/10/06 Page 2 of 2


 1                                           Respectfully submitted,
 2
 3 DATE: 10/04/06                      By:   /s/Ron Peters
                                             RON PETERS
 4                                           Attorney for Gerardo Silva
 5
     DATE: 10/04/06                    By:   /s/Quinn Denvir
 6                                           QUIN DENVIR
                                             Attorney for Aida Magana
 7
 8 DATE: 10/04/06                      By:   /s/Matthew D. Segal
                                             Matthew D. Segal
 9                                           U.S. Attorney
10
11
                                         ORDER
12
     IT IS SO ORDERED.
13
14
     DATED: 10/6/2006
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18                                           DAVID F. LEVI
                                             United States District Judge
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         U.S. vs. SILVA                                 STIPULATION AND ORDER TO
                                                        CONTINUE SENTENCING
